      Case 2:21-cv-01748-JAD-NJK Document 14
                                          13 Filed 11/23/21 Page 1 of 2
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 5    Attorney for Defendant
      Equifax Information Services LLC
 6

 7

 8                                UNITED STATES DISTRICT COURT
                                       DISTRICT OF NEVADA
 9
     JOSEPHINE M. WASHINGTON, an             )              Case No. 2:21-cv-01748-JAD-NJK
10                                           )
     individual,                             )
11                                           )
                                 Plaintiff,  )
12                                           )              JOINT MOTION FOR EXTENSION OF
     vs.                                     )              TIME FOR DEFENDANT EQUIFAX
13                                           )              INFORMATION SERVICES LLC TO
                                             )              FILE ANSWER
14   SECURITYNATIONAL MORTGAGE               )
     COMPANY, a foreign corporation; EQUIFAX )
                                                            FIRST REQUEST
15   INFORMATION SERVICES LLC, a foreign )
                                             )
     limited-liability company; EXPERIAN     )
16   INFORMATION SOLUTIONS, INC., a foreign )
     corporation,                            )
17                                           )
                                             )
18                               Defendants.

19
            Defendant Equifax Information Services LLC (“Equifax”) has requested an extension of
20

21   time to answer, move or otherwise respond to the Complaint in this matter, to which Plaintiff has

22   no opposition. Accordingly, pursuant to LR IA 6-1, IT IS HEREBY STIPULATED AND AGREED

23   to by and among counsel, that Defendant Equifax Information Services LLC’s time to answer,
24   move or otherwise respond to the Complaint in this action is extended from November 22, 2021
25
     through and including December 22, 2021. The request was made by Equifax so that it can have
26
     an opportunity to collect and review its internal files pertaining to the allegations in the Complaint,
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     and Plaintiff approves. Equifax and Plaintiff also make this request because they have engaged in
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     Case 2:21-cv-01748-JAD-NJK Document 14
                                         13 Filed 11/23/21 Page 2 of 2
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 1   pre-Answer settlement discussions, and this extension will allow the parties to explore early
 2   resolution of the case without expending unnecessary attorney’s fees and costs. This stipulation is
 3
     filed in good faith and not intended to cause delay.
 4
            Respectfully submitted, this 23rd day of November, 2021.
 5

 6
     CLARK HILL PLLC                                        No opposition
 7
     By: /s/Jeremy J. Thompson                               /s/Kevin L. Hernandez
 8   Jeremy J. Thompson                                     Kevin L. Hernandez
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13                                                          Email: kevin@kevinhernandezlaw.com
     Attorney for Defendant Equifax Information
14   Services LLC                                           Attorney for Plaintiff

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16

17   IT IS SO ORDERED:
18

19   __________________________
     United States Magistrate Judge
20
             November 23, 2021
     DATED: __________________
21

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